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MISDEMEANOR PROCEEDINGS

CASE NO. [2h 81

TAPE FIR

INTERPRETER

UNITED STATES OF AMERICA Initial/preliminary hearing (
Arraignment/trial
Probation/Identity

v.
Mer stephue M Cackee <<
/

Other

_

Witness(es): AUSA NV. Cearge hej iy

Counsel

ARRAIGNMENT PROCEEDINGS:

Statement of rights and waiver, executed A Delt Advised of charges/penalties/rights
Financial Affidavit, submitted for approval
CJA counsel to be appointed

Govt’s motion to amend Ct. __ to , Granted
Deft. Entered plea of __
___ Deft. Waived/requested trial by jury Govt/Deft’s motion for continuance,
Granted
___ Deft. Failed to appear h j ___ Govt’s motion for warrant, granted
Yi le i] GG Pending finding of probable cause
Govt's motion to dismiss = f 17 A , Granted
TRIAL PROCEEDINGS:
___ Opening Statements ___ Witness excluded on motion of

____ Govt. adduced evidence, rested
_ Deft adduced evidence, rested
___ Rebuttal evidence
____ Closing Argument:
___ Findings stated from the bench
Judgment: ____ Not guilty as to Counts
____ Guilty as to Counts

Case set: Began: Ended: Time in Court:
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GUILTY PLEA PROCEEDINGS:

Deft. Withdrew plea of not guilty as to Counts (

Deft. Arraigned/searratet €d on Count(s) ] 7
Plea Bargain Agreement, filed  ( )

Statements of facts, filed ( ) Usedassummary  ( ) ,

Deft entered plea of guiltyas to Count (s) ( (7
Court accepted plea (“) Govt. summarized evidence Ly
Judgment: Deft. Guilty as charged in Count(s) = l (

Presentence Report Order( ) — P.S.I. waived (

SENTENCE:
Count a Imprisonment days/months Concurrent ( ) Consecutive ( )
( ) Time served
Credit for time served on this charge (_ )
Supervised release —S——_—s monnths/years
Probation i
Fine S "BOL | sine not imposed
Special Assessment S$ bs
Count imprisonment days/months Concurrent {  ) Consecutive (_ )
Supervised release _———_syear(s)
Probation year(s) concurrent (_ )
Fine S _ ( ) fine not imposed
Special Assessment $
Count Imprisonment days/months Concurrent ( ) Consecutive (_ )
Supervised release year(s)
Probation months
Fine S ( ) fine not imposed

Special Assessment $

SPECIAL CONDITIONS: ?robation/supervised release:

____ (2) incur no new credit without approval of probation officer

___ (4) Peform community service hours during period of supervision

___ (6) participate in drug/alcohol treatment; ____ pay cost of treatment

___ (7) participate in mental health treatment; __ pay cost of treatment

participate in anger management

___ (9) participate in home confinement program for ) with monitoring

____ permitted to work, attend church or other approved activities
maintain telephone without special features; no cordless phone

____ pay costs of electronic monitoring

___( ) Serve intermittent confinement for a period of DAYS (_ ) to be served on weekends;
( ) to be served as directed by the Probation Officer

____ (10) Motor vehicle restriction

for

____ (15) Provide Probation officer with access to financial information

___ () Defendant's vehicle to be equipped ignition interlock device for

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Other:

Motions filed withia days
Reply within clays

License suspended ‘Si fy Drsiivens
Effective je A J

___ Restricted License:
____ To and from Work
____ during work, if required
____ necessary medical
____ transport children

Fine to be paid by , 20

Restitituion: $
to:

___ Responses within days
_____ Jury instructions filed 7 days prior to trial

ASAP

ASAP
probation
to jail

Defendant advised of right of appeal within 14 days a

Continued to sin at

___.M. for

Defendant released on PR bond
Defendant remanded to custody

Ol

CH =z

GR o=- C

Fine SI 2 tos 412)

Defendant continued on bond
Defendant directed to appear
